                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                                Plaintiff,
        v.                                         Case No. 22-03105-CR-S-MDH

 WALTER LEE HOORNSTRA,

                                Defendant.

                                     MOTION TO DISMISS

       COMES NOW the United States of America, by and through Teresa A. Moore, the United

States Attorney for the Western District of Missouri, and the undersigned attorneys, and, pursuant

to Rule 48(a) of the Federal Rules of Criminal Procedure, moves the Court to dismiss the

Indictment in the above identified case without prejudice. On November 14, 2024, the government

became aware of issues with a necessary and critical witness that it believes make it unlikely to

obtain a conviction at trial. Therefore, the government submits that the interests of justice favor

immediate dismissal of the case.


Respectfully submitted,


Teresa A. Moore
United States Attorney

By /s/ Randall D. Eggert                              By /s/ Tanya Senanayake
Randall D. Eggert                                     Tanya Senanayake
Assistant U.S. Attorney                               Trial Attorney
Missouri Bar No. 39404                                D.C. Bar No. 1006218

United States Attorney’s Office                       United States Department of Justice
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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on November
18, 2024, to the CM-ECF system of the United States District Court for the Western District of
Missouri for electronic delivery to all counsel of record.

                                           /s/ Randall D. Eggert
                                           Randall D. Eggert
                                           Assistant United States Attorney




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